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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION


             TROY BARBER,                                         PRISONER CIVIL RIGHTS
                    Plaintiff,                                    42 u.s.c. § 1983


                    v.


             THEODORE JACKSON et al.,                             CIVIL ACTION NO.
                    Defendants.                                   l:l 7-CV-3619-MHC-LTW


                                                     ORDER


                    Plaintiff is confined at the Fulton County Jail in Atlanta, Georgia. Plaintiff, pro


             se, seeks leave to proceed      in forma pauperis    ("IFP") in this action.       (Doc. 2.)


             Plaintiffs IFP application demonstrates that he cannot currently pay the filing fee or


             a partial filing fee.   (Id.)

                    Accordingly, the Court GRANTS Plaintiff leave to proceed IFP. Plaintiff shall


             pay the $350 filing fee in monthly payments of 20 percent of the preceding month's


             income credited to Plaintiffs inmate account in each month in which the amount in


             the account exceeds $10 until the filing fee is paid in full.   See 28 U.S.C. §   1915(b)(2).


             The institution administering Plaintiffs inmate account shall withdraw such amounts


             from the account and remit them to the Clerk of this Court until the Clerk verifies by


             separate notice to the head of the institution that the filing fee has been paid in full.




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               THE COURT FURTHER ORDERS that:


               1.    the Clerk of the Court send a copy of this Order to the institution where


                     Plaintiff is confined;


               2.    the head of the institution, or his or her designee, collect the monthly


                     payments referenced above from Plaintiffs inmate account and remit


                     such payments to the Clerk of the United States District Court for the


                     Northern District of Georgia until the $350 filing fee is paid in full;


               3.    Plaintiff promptly inform the Court of any change in his address while


                     this case is pending and list case number 1:17-cv-3619-MHC-LTW on


                     all documents he files in this case; and


               4.    service of process shall not issue unless the Court determines, pursuant


                     to 28 U.S.C. § 1915A, that this


               SO ORDERED this      � day of


                                              . /I; ND       T. WALKER
                                                UNITE         STATES MAGISTRATE JUDGE

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